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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
________________________________________
                                         )
                                         )
OCEAN SEMICONDUCTOR LLC,                 )
                                         )
                         Plaintiff,      )
                                         )
v.                                       )        Civil Action
                                         )      No. 20-12311-PBS
INFINEON TECHNOLOGIES AG and             )
INFINEON TECHNOLOGIES AMERICAS CORP.,    )
                                         )
                         Defendants.     )
________________________________________)

                                 ORDER
                         September 20, 2021
Saris, D.J.

     The Court ALLOWS the motion to stay this case pending a

decision on the institution of IPR proceedings on the seven patents

in suit.   If the proceedings are instituted, the decisions of the

PTAB will be helpful and will simplify the issues.         Plaintiff has

identified no prejudice from a stay because the case in in its

infancy.   After the institution decisions are made with respect to

all patents, the parties shall file a status report addressing (a)

the claims PTAB will be addressing, (b) any patents which will not

be the subject of the IPR proceedings, and (c) parties’ position

on estoppel.


SO ORDERED.

                                 /s/ PATTI B. SARIS
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                           Patti B. Saris
                           United States District Judge
